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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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NINGBO MIZHIHE I&E CO., LTD,

                                                                      ORDER CLARIFYING
                                                                      ORDER OF OCTOBER 16,
                                         Plaintiff,
                                                                      2020
             -against-
                                                                       19 Civ. 6655 (AKH)


 DOES 1-200, et al.

                                         Defendants.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Further to my order issued on October 16, 2020, and the status conference held on

that date, Defendants' motion to lift or modify the asset restraint, see ECF No. 123, is denied

without prejudice. Discovery to support the motion appe~ s not to be complete. To that end,

Item #5 of the October 16, 2020 order will clarify if discovery is complete. Defendants shall

have leave to renew its motion upon completing discove} as attested by the affidavit to be

submitted by Deng Kai on or before October 30, 2020. S e ECF No. 130.




                 SO ORDERED.

Dated:           October 19, 2020
                 New York, New York
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                                                            ii 42:---f'K.     L'1RSTEIN
                                                              Unit d States District Judge
